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                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF LOUISIANA


 BRADFORD SKINNER,                                  CIVIL ACTION: 20-cv-595


                    VERSUS
                                                    JUDGE SHELLY D. DICK

 LOUISIANA WORKFORCE, L.L.C.; SID J.
 GAUTREAUX, in his individual and official
 capacity; DEMARCUS BRAXTON;                        MAGISTRATE JUDGE SCOTT D.
 RUDOLPH HYDE; JOHN DOE                             JOHNSON



                                    MOTION TO DISMISS

       NOW INTO COURT, through undersigned counsel, come Defendants, Sheriff Sid J.

Gautreaux, III, in his individual and official capacity as Sheriff of East Baton Rouge Parish

(“Sheriff Gautreaux”), DeMarcus Braxton, and Rudolph Hyde (“Sheriff Defendants”) who

respectfully request that this Motion to Dismiss be granted and Plaintiff’s claims against Sheriff

Sid J. Gautreaux, III, DeMarcus Braxton, and Rudolph Hyde be dismissed with prejudice pursuant

to Federal Rule of Civil Procedure 12(b)(6) for failure to state a claim for which relief can be

granted.


       WHEREFORE, Sheriff Defendants pray that after all due proceedings be had, this Motion

to Dismiss be granted, and the claims against Defendants, Sheriff Sid J. Gautreaux, III, in his

individual and official capacity as Sheriff of East Baton Rouge Parish, DeMarcus Braxton, and

Rudolph Hyde as set forth in the accompany memorandum be dismissed with prejudice.
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                                              Respectfully submitted:
                                              ERLINGSON BANKS, PLLC

                                              s/ Catherine S. St. Pierre
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                                              CATHERINE S. ST. PIERRE (#18419)
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                                     CERTIFICATE OF SERVICE

       I hereby certify that on November 9, 2020 a copy of the foregoing Motion to Dismiss was

filed electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will be

sent by operation of the court’s electronic filing system to all counsel of record.

       Baton Rouge, Louisiana, this 9th day of November 2020.

                                      /s/ Catherine St. Pierre
                                       Catherine S. St. Pierre




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